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          Exhibit C
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                                                 U.S. Department of Justice
[Type text]
                                                      United States Attorney
                                                      Southern District of New York
                                                      The Jacob K. Javits Federal Building
                                                      26 Federal Plaza, 37th Floor
                                                      New York, New York 10278




                                                      August 9, 2024

BY EMAIL
Alex Spiro, Esq.
Samuel Nitze, Esq.
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Quinn Emanuel Urquhart & Sullivan, LLP
51 Madison Avenue, 22nd Floor
New York, New York 10010

       Re:       United States v. Charlie Javice and Olivier Amar, 23 Cr. 251 (AKH)

Dear Counsel:

        We write in response to your July 15, 2024 expert notification regarding a defense-
designated expert (the “Expert Notice”). For the reasons set forth below, the Expert Notice does
not comply with Rule 16’s requirement that the Expert Notice must provide “a complete statement
of all opinions that the defendant will elicit from the witness in the defendant’s case-in-chief” and
“the bases and reasons for them.” See Rule 16(b)(1)(C)(iii). These deficiencies undermine the
Government’s ability to challenge the admissibility of proffered expert’s testimony and to prepare
for trial. Accordingly, the Government requests that the defendant supplement her expert
disclosures to address the deficiencies identified below.

Dr. Konstantinos Psounis

       The Expert Notice states that Dr. Psounis will rely “on his academic and professional
experience” as the bases for his opinions. Please identify the portions of Dr. Psounis’s “academic
and professional experience” that inform each proffered opinion.

        For example, the Expert Notice proffers that Dr. Psounis will opine that “[t]he meaning of
the term ‘user’ . . . is variable and context-dependent, and has no single definition” and that “many
companies supplement their existing data by using one or more data augmentation, synthesis, or
appending programs to generate further insights into their businesses.” See Expert Notice at 2.
The Expert Notice also proffers the opinion that “what a company considers its ‘users’ often is left
undefined, such as in the case of a new or developing company that has not created consistent
processes or metrics to measure engagement.” See Expert Notice at 5. Please identify the specific
bases in Dr. Psounis’s “academic and professional” experience that inform these opinions and any
others in the Expert Notice.
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                                                                                           Page 2


        Certain of the proffered opinions are supported by citations to certain documents, including
citations indicating that the documents relied upon are exemplars. See, e.g., Expert Notice at 6
n.11 (a “see, e.g.” citation). If documents other than the exemplar documents were relied upon to
form the opinion, please identify those documents.

        To the extent that Dr. Psounis relied upon any other documents in forming his opinions
other than those specifically identified in the Expert Notice, including documents from the Rule
16 discovery in this case, please identify those documents and any relevant Bates numbers. Please
also disclose whether Dr. Psounis interviewed Javice or any other individual in connection with
his work. If so, please identify the information supplied by Javice or any other individual to Dr.
Psounis.

        The Government respectfully requests that the defense provide supplemental disclosures
sufficient to comply with Rule 16 no later than August 15, 2024.


                                              Very truly yours,

                                              DAMIAN WILLIAMS
                                              United States Attorney

                                          by: /s/        __________
                                          Rushmi Bhaskaran
                                          Nicholas W. Chiuchiolo
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